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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                            v.                           ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                   Defendants.


          Defendant Christopher Cantwell, proceeding pro se and currently in transport from USP

   Marion to this District for trial, filed a motion requesting “access to the discovery and necessary

   legal materials at trial.” Dkt. 1122. Therein, Cantwell asks the Court to “make arrangements for

   all of the discovery material in this matter to be made available to him along with any equipment

   necessary to present such exhibits to the jury.” Id. at 1. Cantwell also states that he will “work

   with the Clerk and/or Plaintiffs” concerning what documents he may need and when. See id. at 2.

   In addition, Cantwell requests that the Federal Rules of Evidence and Federal Rules of Civil

   Procedure be made available at Defendants’ table during trial. Id. at 2.

          Plaintiffs have responded stating that they “do not oppose Cantwell having access to

   discovery, equipment, or the rules applicable in this Court,” but they did note the “incredible

   volume of documents” produced in discovery, i.e., over 845,000. Dkt. 1195 at 1. They also note

   that Cantwell “has already received discovery in this case, and it would be extremely

   burdensome to compile all the material he seeks at this stage.” Id. at 2. However, Plaintiffs offer

   to provide the Court or U.S. Marshals Service “with electronic copies of the documents on




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   Plaintiffs’ exhibit list that are not designated Highly Confidential, so they may be provided to

   Cantwell.” Id.

          Upon consideration of Cantwell’s and Plaintiffs’ submissions, and finding good cause

   shown and that the following measures will facilitate efficient conduct of the trial, the Court

   hereby ORDERS that:

          1. The Court make available a laptop in the Courtroom during trial at Defendants’ table,

              to which Cantwell will have access, to review certain trial exhibits. The laptop would

              only be for use reviewing USB thumb-drive(s) containing trial exhibits, as described

              below. 1

          2. Plaintiffs, counsel for represented Defendants, and any other pro se Defendant, shall

              submit to the Clerk’s Office USB thumb-drive(s) containing their trial exhibits which

              they intend to show to the jury by October 22, 2021. Such USB thumb-drive(s) will

              be available for Cantwell to review on the laptop in the Courtroom at the final pre-

              trial conference and during trial. 2

          3. The Federal Rules of Civil Procedure and Federal Rules of Evidence will be available

              at Defendants’ table at the final pre-trial conference and during trial.



          1
              The Court finds that temporary provision of a court-computer at Defendants’ table is
   necessary in this case given substantial number and nature of exhibits intended to be introduced
   at trial. That provision at this trial is by no means indicative that such computer access would be
   appropriate in other cases or hearings involving incarcerated or pro se litigants, in which paper
   records could fully ensure the litigant’s fulsome involvement in their hearing.
          2
             Plaintiffs have moved to “de-designate” certain trial exhibits as “Highly Confidential.”
   Dkt. 1215. The USB drive(s) made available for Mr. Cantwell’s use should contain all such trial
   exhibits that are not designated “Highly Confidential,” including any that are “de-designated” as
   “Highly Confidential.” If, following all de-designations, Plaintiffs believe there are particular
   circumstances that necessitate retaining a Highly Confidential designation and thereby limiting a
   Defendant’s access to an exhibit shown to the jury at trial, the Court anticipates Plaintiffs will
   promptly advise the Court of such circumstances.

                                                     2
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          The Court finds that Defendant Cantwell’s request that all discovery (i.e., 845,000-plus

   documents) be made available to him again at this stage, without a more specific showing of

   demonstrated need, would be unduly burdensome and would be premature. The Court ordered

   trial exhibits as identified above be made available for his review. Any request by Cantwell for a

   broader set of material at trial shall be denied, without prejudice; and the Court will separately

   take up the specific procedure for use of Courtroom technology by Defendant Cantwell to show

   any evidence he intends to present to the jury. As specifically set forth above, Cantwell’s motion

   is granted in part, and otherwise denied without prejudice. Dkt. 1122.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record, to

   Christopher Cantwell, Richard Spencer, and to the U.S. Marshals Service.




                                                  Dated: October 14, 2021




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